                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                                    5:99CR12-08

UNITED STATES OF AMERICA )
                              )
      v.                      )                       ORDER
                              )
SHAWN AUTALEON POSTON, )
                  Defendant.  )
_____________________________ )

       THIS MATTER is before the court on Defendant’s Motion for Reconsideration (Document

#510), filed May 6, 2009. In this motion, the Defendant asks the court to amend its Order

(Document #506), filed April 17, 2009, granting Defendant’s Motion to Reduce Sentence pursuant

to 18 U.S.C. 3582(c)(2) and Amendment 706 to the Sentencing Guidelines. Defendant argues that

the court should grant a further reduction in his sentence because his criminal history points were

incorrectly calculated in the original Presentence Investigation Report. In the alternative, Defendant

asks the court to treat the motion as a Notice of Appeal.

       Fatal to Defendant’s argument, “proceedings under § 3582(c)(2) do not constitute a full

resentencing of the defendant.” United States v. Dunphy, 551 F.3d 247, 251 (4th Cir. 2009). As

such, § 3582(c)(2) only allows for reduction of a sentence by the amount specified in the amendment.

The district court does not have the authority to conduct a complete reevaluation of the original

sentence. Id. at 252. For this reason, the court does not have the power to consider Defendant’s

argument at this time. Any objections to the original Presentence Investigation Report should have

been raised before the original sentencing or on appeal.




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       WHEREFORE, for the foregoing reasons, Defendant’s Motion for Reconsideration is

DENIED. The clerk is directed to treat the motion as a notice of appeal.



                                               Signed: May 8, 2009




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